











Opinion issued November 3, 2009















In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-07-01058-CR
____________

VICTOR CRUZ MARTINEZ, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 178th District Court 
Harris County, Texas
Trial Court Cause No. 1080426



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MEMORANDUM  OPINION ON REHEARING
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pending before the Court is appellant’s motion for rehearing.  We grant the
motion for rehearing, withdraw the original opinion issued on October 23, 2008, and
and substitute this opinion for the one we previously issued.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Victor Cruz Martinez, without an agreed punishment
recommendation from the State, pleaded guilty to the offense of aggravated sexual
assault. The trial court ordered a presentence investigation and rescheduled the case. 
After a presentence investigation hearing, the trial court sentenced appellant to
confinement for 24 years. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s counsel on appeal has filed a brief stating that the record presents 
no reversible error, that the appeal is without merit and is frivolous, and that the
appeal must be dismissed or affirmed.  See Anders v. California, 386 U.S. 738, 87 S.
Ct. 1396, (1967).  The brief meets the requirements of Anders by presenting a
professional evaluation of the record and detailing why there are no arguable grounds
for reversal.  Id. at 744, 87 S. Ct. at 1400; see also High v. State, 573 S.W.2d 807, 810
(Tex. Crim. App. 1978). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Counsel represents that she has served a copy of the brief on appellant. 
Counsel also advised appellant of his right to examine the appellate record and file
a pro se brief.  See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991). 
More than 30 days have passed, and appellant has not filed a pro se brief.  Having
reviewed the record and counsel’s brief, we agree that the appeal is frivolous and
without merit and that there is no reversible error.  See Bledsoe v. State, 178 S.W.3d
824, 826–27 (Tex. Crim. App. 2005).  

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the judgment of the trial court and grant counsel’s motion to
withdraw.


 

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Higley and Sharp.

Do not publish.  Tex. R. App. P. 47.2(b).

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